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                Exhibit B
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                    NORFOLK DIVISION

   THE COLEMAN COMPANY, INC.,

                  Plaintiff/Counterclaim Defendant       C.A. No: 2:20-cv-351-RGD
                  v.
                                                         JURY TRIAL DEMANDED
   TEAM WORLDWIDE CORPORATION,

                  Defendant/Counterclaim Plaintiff.




                COLEMAN’S FIRST SET OF INTERROGATORIES RELATING
                      TO EXPERT DISCOVERY TO TWW (NO. 1)


       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure (“Federal Rules”) and the

Rule 16(b) Scheduling Order entered in this proceeding (Dkt. No. 26), Plaintiff The Coleman

Company, Inc. (“Coleman”), by and through its attorneys, hereby request that Defendant Team

Worldwide Corporation (“TWW”) answer the following First Set of Interrogatories Relating to Expert

Discovery (“Interrogatories”) fully in writing under oath, unless the interrogatory is objected to, in

which event TWW shall state the reasons for the objection and shall answer to the extent the

interrogatory is not objectionable. The answers shall be served within 30 days after service.

       Each interrogatory set forth below is addressed to the knowledge of TWW, as well as to the

knowledge, information, and documents in the possession, custody, or control of TWW’s attorneys,

accountants, agents, employees, officers, directors, investigators, consultants, and other

representatives. Thus, when an interrogatory is directed to TWW, it is also directed to each of the

above-described persons.




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                                            DEFINITIONS

       Coleman incorporates by reference those Definitions and Instructions contained in its First Set

of Interrogatories served December 14, 2020. For avoidance of doubt, Coleman reiterates that the

phrase “TWW Accused Products” means and includes any product that you have marketed or currently

market, have sold or currently sell, have made or currently make, have imported or currently import,

and/or have offered or currently offer for sale, that comprises an inflatable device with a top panel,

bottom panel, at least one side panel, and an internal panel or beam attached to either the top panel or

bottom. Such products include, but are not limited to, those products specifically identified by

Coleman as practicing any claim of the ’618 patent, including as provided in response to TWW’s

Interrogatory Request No. 4 (which may be supplemented throughout this case).



                                        INTERROGATORIES

INTERROGATORY NO. 1: Identify all financial information regarding the revenues paid on matters

in which Glen Stevick, Ph.D., P.E. has been retained as an expert witness by Team Worldwide

Corporation ("TWW") on an annual basis or by matter, since 2015.

RESPONSE:



Dated: July 23, 2021                          MEUNIER CARLIN AND CURFMAN LLC

                                              /s/ David S. Moreland
                                              David S. Moreland (pro hac vice)
                                              John W. Harbin (pro hac vice)
                                              Warren J. Thomas (pro hac vice)
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 NORFOLK DIVISION

  THE COLEMAN COMPANY,

                Plaintiff/Counterclaim Defendant,   C.A. No: 2:20-cv-351-RGD
                v.
                                                    JURY TRIAL DEMANDED
  TEAM WORLDWIDE CORPORATION,

                Defendant/Counterclaim Plaintiff.



                                CERTIFICATE OF SERVICE
        I hereby certify that on July 23, 2021, I served the foregoing COLEMAN’S FIRST SET OF
INTERROGATORIES RELATING TO EXPERT DISCOVERY TO TWW (NO. 1) via
electronic mail to the following record of counsel:

    William R. Poynter (VSB No. 48672)                     Korula Cherian
     David Sullivan (VSB No. 45027)                     RUYAKCHERIAN LLP
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                                             /s/ David S. Moreland




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